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                            UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     TAMPA DIVISION
                                    www.flmb.uscourts.gov

IN RE:

SENIOR CARE LIVING VII, LLC,                                      CASE NO. 8:22-bk-00103-CED
                                                                  Chapter 11

         Debtor.                                                  NOTICE OF HEARING FOR
                                                                  June 2, 2022, at 2:00 p.m.
                                                         /

                      DEBTOR’S MOTION FOR ORDER
          APPROVING COMPROMISE WITH UMB BANK, N.A., AS TRUSTEE

         NOTICE OF OPPORTUNITY TO OBJECT AND NOTICE OF HEARING
                       FOR JUNE 2, 2022, AT 2:00 P.M.

 If you object to the relief requested in this paper you must file a response with the Clerk of Court
 at 801 North Florida Avenue, Suite 555, Tampa, Florida 33602 and mail a copy to the
 moving party’s attorney at Michael C. Markham, Esq., Johnson Pope Bokor Ruppel &
 Burns, LLP, 401 E. Jackson Street, Suite 3100, Tampa, Florida 33602, on or before May 27,
 2022.

 If you file and serve a response within the time permitted, the Court will hear such objection on
 June 2, 2022 at 2:00 p.m. If you do not file a response within the time permitted, the Court will
 consider that you do not oppose the relief requested in this Motion.

 You should read these papers carefully and discuss them with your attorney if you have one.



         The Debtor, Senior Care Living VII, LLC, by and through its undersigned attorneys,

pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”),

moves this Court to enter a final order approving a compromise between with UMB Bank, N.A.,

in its capacity as bond trustee and master trustee (the “Bond Trustee”) and in support of this

Motion, the Debtor states as follows:




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                                       Jurisdiction and Venue

          1.      This Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. Sections

157 and 1334. The subject matter of the Motion is a core proceeding pursuant to 28 U.S.C. Section

157(b). Venue is proper in this district pursuant to 28 U.S.C. Section 1408.

          2.      The statutory predicates for the relief requested herein are 11 U.S.C. §105(a), Rule

9019 of the Federal Rules of Bankruptcy Procedure, and Local Bankruptcy Rule 9019-1.

                                             Background

          3.      On January 10, 2022 (the “Petition Date”), the Debtor filed a Voluntary Petition for

Relief under Chapter 11 of Title 11 of the United States Code (the “Bankruptcy Code”).

          4.      The Debtor owns an assisted living facility (“ALF”) in Lewisville, Texas, that is

operated by its management company, Validus Senior Living (“Validus”). The Debtor also owns

an approximate 4-acre parcel of unimproved real estate adjacent to the ALF (the “Excess Real

Estate”).

          5.      Pursuant to Sections 1107 and 1108 of the Bankruptcy Code, the Debtor is

operating as a Debtor-in-Possession and managing its ALF through Validus. This Court has

jurisdiction to consider this matter pursuant to 28 U.S.C., Sections 1334 and 157. This is a core

matter.

          6.      An Official Committee of Unsecured Creditors has not been appointed as of the

filing of this Motion.

          7.      The Bond Trustee serves as successor bond trustee and successor master trustee for

the Senior Housing Revenue Bonds (Inspired Living at Lewisville Project) Series 2016 (the

“Bonds”), which were issued in 2016 in the aggregate principal amount of $45,385,000 for the

benefit of the Debtor. The Bonds were issued pursuant to and secured by a (i) Trust Indenture and



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Security Agreement dated as of November 1, 2016 (the “Bond Indenture”), (ii) Loan Agreement

dated November 1, 2016 (the “Loan Agreement”), and (iii) Master Trust Indenture, Deed of Trust

and Security Agreement dated as of November 1, 2016 (the “Master Indenture” and collectively

with the Bond Indenture, the Loan Agreement and all other documents that evidence or secure the

Bonds, the “Bond Documents”). As of the Petition Date, the Debtor owes a secured debt to the

Bond Trustee in the principal amount of approximately $45,385,000.00 in connection with the

Bonds and the Bond Documents. It appears that the Bond Trustee has a first priority, valid and

property perfected lien on all of the Debtor’s personal property, including receivables, by virtue of

a UCC-1 financing statement recorded on November 28, 2016, in the Florida Secured Transactions

Registry. The Bond Trustee filed a proof of claim in this case in the amount of $54,060,936.15

(Claim No. 4), including both the Series A notes and the Series B note.

        8.      During this case, the Debtor sought and obtained authority to employ SC&H

Capital, as financial advisor, to assist the Debtor, among other things, in procuring alternative

financing for the Debtor. Since its employment, SC&H has been working diligently with the

Debtor to procure financing and has made contact with over 100 potential lenders.

        9.      The Debtor has executed a Term Sheet for debtor-in-possession financing that will

be used to fund a compromise with the Bond Trustee and resolve all issues relating to the bond

debt.

                                       Proposed Settlement

        10.     The Debtor and the Bond Trustee (at the direction of the holders of a majority of

the principal amount of the Bonds) have entered into a Settlement Agreement, a copy of which is

attached hereto as Exhibit A. In short, the Bond Trustee has agreed to accept $36 million,




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including the remaining balance of the debt service reserve fund, in full and complete satisfaction

of all claims arising under the Bonds.


                                         Law and Argument

         16.    Bankruptcy Rule 9019(a) grants the Court authority to approve post-petition

settlements of claims and controversies. Under this authority, bankruptcy courts consider the

overall wisdom of compromising and settling disputes arising in bankruptcy cases. See, e.g., In re

Air Safety Developmental, L.C., 336 B.R. 843 (S.D. Fla. 2005); In re Marvel Entertainment Group,

Inc., 222 B.R. 243, 249 (D. Del. 1998) (citing Protective Comm. for Indep. Stockholders of TM

Trailer Ferry, Inc. v. Anderson, 390 U.S. 414 (1968)). In reviewing a proposed settlement, the

Court’s ultimate inquiry should be “whether the proposed settlement is fair and equitable.” In re

Air Safety Developmental, L.C., 336 B.R. at 843 (citing In re Gallagher, 283 B.R. 342, 246 (Bankr.

M.D. Fla. 2002) (citing Protective Comm., 390 U.S. at 424)). Ultimately, the question is not

whether a better settlement might have been achieved or a better result reached if litigation pursued.

Instead, the court should approve settlements that meet a minimal threshold of reasonableness. See

e.g., In re Bicoastal Corp., 164 B.R. 1009, 1016 (Bankr. M.D. Fla. 1993) (“This Court has broad

discretion to approve a settlement or compromise, and it should do so unless the proposed

settlement falls below the lowest point in the range of reasonableness.”).

         17.    The Bankruptcy Court may approve not only settlement of pending lawsuits, but

also settlements of controversies affecting the estate. Settlements allow the estate to avoid risks

and expenses associated with litigation. See In re Winn Dixie, 356 B.R. at 250 (Bankr. M.D. Fla

2006) (“if this case were to proceed to litigation… the protracted litigation could wipe out the

bankruptcy estate”).

         18.    The Eleventh Circuit has set forth standards for Bankruptcy Courts to apply in

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analyzing proposed settlements:

                   When a bankruptcy court decides whether to approve or
                   disapprove of a proposed settlement, it must consider: (a) the
                   probability of success in the litigation; (b) the difficulties, if any,
                   to be encountered in the matter of collection; (c) the complexity
                   of the litigation involved, and the expense, inconvenience and
                   delay necessarily attending it; (d) the paramount interest of
                   creditors and a proper deference to their reasonable view in the
                   premises.

Wallis v. Justice Oaks II, Ltd. (In re Justice Oaks II, Ltd.) 898 F.2d 1544 (11th Cir. 1990), cert.

denied, 498 U.S. 959 (1990). In considering these factors, the ultimate question is whether the

proposed compromise is fair and equitable and in the best interests of the bankruptcy estate. See

in re Winn Dixie, 356 F.R. at 251 (overruling certain objections to a proposed compromise and

concluding that the settlement was in the best interest of the debtors’ estates); Gallagher, 283 B.R.

at 346 (“[T]he bankruptcy court must determine whether the proposed compromise is fair and

equitable and in the best interests of the bankruptcy estate.”)

      19.       This Court has broad discretion to approve a compromise and, it should do so

unless the proposed settlement “falls below the lowest point in the range of reasonableness.: In re

Bicoastal Corporation, 164 B.R. 1009, 1016 (Bankr. M.D. Fla. 1993) (citing In re W.T. Grant Co.,

699 F.2d 599 (2d Cir. 1983), Cert. denied, 464 U.S. 822 (1983)).

      20.       Rule 9019(a) provides that, after notice and a hearing, a Court may approve a

proposed settlement of a claim. The decision of whether or not to approve a compromise is within

the sound discretion of the Court. In re Chira, 367 B.R. 888, 896 (S.D. Fla. 2007) aff’d 567 F.3d

1307 (11th Cir. 2010) (citing In re Air Safety Intern., L.C., 336 B.R. 843, 852 (S.D. Fla. 2005)); In

re Arrow Air, Inc., 85 B.R. 886 (Bankr. D.S. Fla. 1988).

      21.       Bankruptcy Rule 9019(a) grants the Court authority to approve post-petition

settlement of claims and controversies. Under this authority, bankruptcy courts consider the

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overall wisdom of compromising and settling disputes arising in bankruptcy cases. See, e.g., In re

Air Safety Developmental, L.C., 336 B.R. 843 (S.D. Fla. 2005); In re Marvel Entertainment Group,

Inc., 222 B.R. 243, 249 (D.Del. 1998) (citing Protective Comm. for Indep. Stockholders of TM

Trailer Ferry, Inc. v. Anderson, U.S. 414 (19968)). In reviewing a proposed settlement, the

Court’s ultimate inquiry should be “whether the proposed settlement is fair and equitable.” In re

Air Safety Developmental, L.C., 336 B.R. at 843 (citing In re Gallagher, 283 B.R. 342, 246 (Bankr.

M.D. Fla. 2002) (citing Protective Comm., 390 U.S. at 424)). Ultimately, the question is not

whether a better settlement might have been achieved or a better result reached if litigation

pursued.    Instead, the court should approve settlements that meet a minimal threshold of

reasonableness. See e.g., In re Bicoastal Corp., 164 B.R. 1009, 1016 (Bankr. M.D. Fla. 1993)

(“This Court has broad discretion to approve a settlement or compromise, and it should do so under

the proposed settlement falls below the lowest point in the range of reasonableness.”)

           22.   The terms of the Settlement Agreement are fair and equitable, and approval of the

Settlement Agreement is in the best interests of both the Debtor’s bankruptcy estate and the

holders of the Bonds. The Settlement Agreement, if approved, resolves all potential disputes and

controversies between the Debtor and the Bond Trustee, avoids potentially costly and protracted

litigation, and avoids costly administrative expenses which would be incurred if the Debtors fully

litigated the issues on confirmation of a plan over any objection of the Bond Trustee. The

Settlement Agreement resolves the largest claims in this case.

        WHEREFORE, the Debtor respectfully requests that this Court enter a final order

approving the compromise set forth in the Settlement Agreement, and providing such other and

further relief as is just and proper.




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                                                    JOHNSON, POPE, BOKOR,
                                                    RUPPEL & BURNS, LLP

                                                    /s/ Michael C. Markham
                                                    Michael C. Markham (FBN: 768560)
                                                    401 East Jackson Street #3100
                                                    Tampa, FL 33602
                                                    Telephone: 813-225-2500
                                                    Email: mikem@jpfirm.com
                                                    Attorneys for Debtor


                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing Motion has been

furnished by U.S. mail on all creditors (see attached Matrix) and electronically on the CM/ECF

participants (indicated on the attached Matrix with a “+” symbol) on this 16th day of May, 2022.




                                                    /s/ Michael C. Markham
                                                    Michael C. Markham




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                                  EXHIBIT A TO MOTION

                                SETTLEMENT AGREEMENT

        THIS SETTLEMENT AGREEMENT (the “Agreement”) is made as of May 10, 2022 (the
“Effective Date”) by and among (i) Senior Care Living VII, LLC (the “Debtor”), (ii) Mark C.
Bouldin (“Bouldin”), (iii) UMB Bank, N.A., in its capacity as successor bond trustee (the “Bond
Trustee”) under that certain Trust Indenture and Security Agreement dated as of November 1, 2016
(the “Bond Indenture”) between Woodloch Health Facilities Development Corporation (the
“Issuer”) and Branch Banking and Trust Company, as the prior bond trustee, and (iv) UMB Bank,
N.A., in its capacity as successor master trustee (the “Master Trustee” and together with the Bond
Trustee, the “Trustee”) under that certain Master Trust Indenture, Deed of Trust and Security
Agreement (the “Master Indenture”) between the Debtor and Branch Banking and Trust Company,
as the prior master trustee (collectively, the “Parties” and each individually being a “Party”):

        WHEREAS, on January 10, 2022 (the “Petition Date”), the Debtor filed a voluntary
petition for relief under chapter 11 of title 11 of the United States Code with the United States
Bankruptcy Court for the Middle District of Florida (the “Bankruptcy Court”) commencing the
bankruptcy case currently pending under the caption In re Senior Care Living VII, LLC, Case No.
22-00103 (the “Bankruptcy Case”);

        WHEREAS, prior to the Petition Date, the Issuer, at the request of the Debtor, issued the
following series of bonds: (i) $35,925,000 Senior Housing Revenue Bonds (Inspired Living at
Lewisville Project) Series 2016A-1; (ii) $2,555,000 Taxable Senior Housing Revenue Bonds
(Inspired Living at Lewisville Project) Series 2016A-2; (iii) $1,915,000 Taxable Senior Housing
Revenue Bonds (Inspired Living at Lewisville Project) Series 2016A-3; and (iv) $4,990,000
Subordinate Senior Housing Revenue Bonds (Inspired Living at Lewisville Project) Series 2016B
(collectively, the “Bonds”). Pursuant to that certain Loan Agreement dated as of November 1,
2016 between the Issuer and the Debtor (the “Loan Agreement”), the Issuer loaned the proceeds
of the Bonds to the Debtor for the purpose of acquiring, constructing, developing, furnishing and
equipping a senior living facility known as “Inspired Living at Lewisville” located in the City of
Lewisville, Texas;

        WHEREAS, the rights of the Issuer under the Loan Agreement were assigned to the Bond
Trustee pursuant to the Bond Indenture as security for the Bonds. The Debtor’s obligations with
respect to the Bonds are further secured by (i) the Master Indenture; (ii) that certain Multiple
Indebtedness Deed of Trust, Assignment of Leases and Rents, Security Agreement and Fixture
Filing (the “Deed of Trust”), and (iii) that certain Guaranty Agreement executed by Bouldin dated
as of November 1, 2016 (the “Guaranty”, and collectively with the Bond Indenture, the Master
Indenture, the Loan Agreement, the Deed of Trust, and all other documents evidencing or securing
the Bonds, the “Bond Documents”). Pursuant to the Bond Documents, the Borrower granted to the
Master Trustee a mortgage and security interest against substantially all of the Borrower’s assets
(all such collateral so granted under the Bond Documents, the “Collateral”);

       WHEREAS, as of the Petition Date, the total amount outstanding on the Bonds was
$54,060,936.15, comprised of $45,385,000 in outstanding principal and $8,675,936.15 in
outstanding interest (the “Bond Claim”); and

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        WHEREAS, the Parties have engaged in good faith, arm’s-length negotiations regarding,
among other things, the treatment of the Bond Claim in the Bankruptcy Case, and, as a result of
such discussions, have reached a settlement and compromise pursuant to which and on the terms
set forth more fully below the Trustee will accept payment in full and final satisfaction of the
Debtor’s obligations under the Bond Documents and Bouldin’s obligations under the Guaranty.

        NOW, THEREFORE, in consideration of the mutual covenants contained herein, and other
good and valuable consideration, the receipt and adequacy of which are hereby acknowledged, the
Parties agree as follows:

       1.     Affirmation of Recitals. The Recitals set forth above are true and correct and are
hereby incorporated herein by this reference.

       2.      Settlement Payment and Other Consideration.

               (a)      Payment to the Trustee. On or before June 10, 2022, the Debtor shall pay or
cause to be paid to the Trustee a total payment of $36,000,000 less the amount of any monies held
in the Debt Service Reserve Fund (as such term is defined in the Bond Documents) as of the date
of such payment (the “Settlement Payment”).

               (b)     Filing of DIP Motion and Settlement Motion.

                       (i)    In order to fund the Settlement Payment, the Debtor shall file a
motion (the “DIP Motion”) with the Bankruptcy Court seeking entry of an order on an expedited
basis authorizing the Debtor to obtain postpetition debtor-in-possession financing (such order, the
“DIP Order”). The DIP Motion shall be filed with the Bankruptcy Court on or before May 16,
2022 and a hearing on the DIP Motion shall be held on or before June 2, 2022.

                     (ii)   The Debtor shall file a motion (the “Settlement Motion”) with the
Bankruptcy Court seeking entry of an order on an expedited basis approving this Agreement on or
before May 16, 2022. A hearing on the Settlement Motion shall be held on or before June 2, 2022.

                (c)     Release of the Debtor and Bouldin. Subject to and effective upon the
occurrence of the Effective Date, the Trustee shall be deemed to have forever released, discharged,
waived and abandoned any and all claims, whether direct or indirect, rights, demands, suits,
matters, issues or causes of action, whether known or unknown, whether based on federal, state,
local statutory or common law, rule or regulation, by contract or in equity that it may have, as of
the date of this Agreement, against the Debtor, Bouldin and each of their respective present and
former parents, subsidiaries, affiliates, divisions, successors, transferees, partners, principals,
officers, directors, employees, agents, attorneys, and assigns (in each case, solely in their capacities
as such) (collectively, the “Released Debtor Parties”), arising from, in any way based upon, or in
any way related to the negotiation, entry into or performance of this Agreement, the Bond Claims,
the Bond Documents, including the Guaranty, the Released Debtor Parties’ conduct whether prior
to or during the Bankruptcy Case, and any claim and/or interest arising under or in connection with
the Collateral.

               (d)     Release of the Trustee and Holders. Subject to and effective upon the
occurrence of the Effective Date, the Debtor and Bouldin shall be deemed to have forever released,

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discharged, waived and abandoned any and all claims, whether direct or indirect, rights, demands,
suits, matters, issues or causes of action, whether known or unknown, whether based on federal,
state, local statutory or common law, rule or regulation, by contract or in equity that it may have,
as of the date of this Agreement, against the Trustee, all holders of the Bonds (“Holders”) and each
of their respective present and former parents, subsidiaries, affiliates, divisions, successors,
transferees, partners, principals, officers, directors, employees, agents, attorneys, and assigns (in
each case, solely in their capacities as such) (collectively, the “Released Trustee Parties”), arising
from, in any way based upon or in any way related to the negotiation, entry into or performance
of this Agreement, the Bond Claims, the Bond Documents, the Trustee Released Parties’ conduct
whether prior to or during the Bankruptcy Case, and any claim and/or interest arising under or in
connection with the Collateral.

       3.      Support for Settlement. From and after the date of the execution of this Agreement,
each of the Parties shall use commercially reasonable efforts to obtain the entry of an order by the
Bankruptcy Court in a form agreed to by the Parties approving this Agreement (the “Settlement
Order”) and otherwise obtain the approval by the Bankruptcy Court of the settlement and
compromise set forth in this Agreement.

       4.      Further Assurances. From time to time, as and when requested by a Party hereto,
any other Party hereto shall execute and deliver, or cause to be executed and delivered, all such
documents and instruments and shall take, or cause to be taken, all such further or other action
(subject to any limitations set forth in this Agreement), as such other Party may reasonably deem
necessary or desirable to consummate the transactions contemplated by this Agreement.

       5.      Conditions Precedent to Effectiveness of Agreement.

               (a)    Notwithstanding any other provision of this Agreement, this Agreement
shall not become effective until each of the following shall have occurred:

                       (i)     The entry of the Settlement Order by the Bankruptcy Court; and

                       (ii)    Delivery of the Settlement Payment to the Trustee on or before June
10, 2022.

The date upon which each of the foregoing conditions shall have occurred may be referred to in
this Agreement as the “Effective Date”.

                (b)     If (i) the Bankruptcy Court denies the DIP Motion or the Settlement Motion
or refuses to enter the Settlement Order or DIP Order in a form acceptable to the Parties, or (ii) if
the Settlement Order is not entered by June 10, 2022, or (iii) the Settlement Payment is not
delivered to the Trustee by June 10, 2022, then this Agreement shall be null and void and all Parties
shall be released of their obligations hereunder and shall be returned to their respective legal
positions as of the time immediately prior to execution of this Agreement. Provided that the Parties
have used good faith efforts to seek the entry of such Settlement Order and to support the entry of
the Settlement Order, then no Party shall have any liability to any other Party, and shall be deemed
to have waived the right to assert any claim on account of the inability to obtain the entry of such
Settlement Order. For the avoidance of doubt, this Agreement does not constitute a finding as to
the value of the Collateral securing the Bond Claim, shall have no binding effect on or any findings
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related to the value of the Collateral securing the Bond Claim, and shall not and cannot be used by
any Parties to establish the value of the Collateral securing the Bond Claim.

       6.      Representations.

                (a)     The Trustee represents and warrants subject to and effective upon the
occurrence of the Effective Date, and upon entry of the Settlement Order, that it has been
authorized to execute and deliver this Agreement and any other documentation contemplated by
this Agreement to which it is or will be a party, and that, assuming proper authorization, execution
and delivery by the designated counterparties to such agreements, that based upon entry of the
Settlement Order and the provisions thereof as contemplated herein, this Agreement constitutes,
and the other documents contemplated by this Agreement to which it is or will be a party will
constitute, the legal, valid and binding obligation of the Trustee, enforceable against the Trustee
in accordance with their terms, except as the enforceability thereof may be limited by applicable
bankruptcy, insolvency, reorganization, moratorium or other laws affecting the rights and remedies
of creditors.

               (b)    The Debtor represents and warrants subject to and effective upon the
occurrence of the Effective Date, that it has been authorized to execute and deliver this Agreement
and any other documentation contemplated by this Agreement to which it is or will be a party, and
that, assuming proper authorization, execution and delivery by the designated counterparties to
such agreements, that based upon entry of the Settlement Order and the provisions thereof as
contemplated herein, this Agreement constitutes, and the other documents contemplated by this
Agreement to which it is or will be a party will constitute, the legal, valid and binding obligation
of the Debtor, enforceable against the Debtor in accordance with their terms, except as the
enforceability thereof may be limited by applicable bankruptcy, insolvency, reorganization,
moratorium or other laws affecting the rights and remedies of creditors.

               (c)    Bouldin represents and warrants subject to and effective upon the
occurrence of the Effective Date, that he is of sound mind and capacity to execute and deliver this
Agreement and any other documentation contemplated by this Agreement to which he is or will
be a party, and that, assuming proper authorization, execution and delivery by the designated
counterparties to such agreements, that based upon entry of the Settlement Order and the
provisions thereof as contemplated herein, this Agreement constitutes, and the other documents
contemplated by this Agreement to which he is or will be a party will constitute, the legal, valid
and binding obligation of Bouldin, enforceable against Bouldin in accordance with their terms,
except as the enforceability thereof may be limited by applicable bankruptcy, insolvency,
reorganization, moratorium or other laws affecting the rights and remedies of creditors.

        7.      No Assignment. The Parties warrant and represent that they are the holders and
owners of the claims subject to the respective releases set forth herein, that such claims have not
been assigned or otherwise conveyed to any other person, firm or entity, and that they have the
right to surrender, compromise and settle the claims covered by the terms of this Agreement.

       8.      Successors and Assigns. This Agreement shall inure to the benefit of, and shall be
binding on, the Parties, and their respective successors and assigns.


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        9.     Entire Agreement. This Agreement constitutes the entire agreement between the
Parties. All prior understandings, representations and agreements are merged in this Agreement,
and this Agreement shall not be modified in any manner, except by written instrument signed by
the Parties. The Parties attest that this Agreement is voluntarily made after ample opportunity to
review the document with any individuals, advisors and counsel.

        10.     Amendments. No variation or amendment of this Agreement shall be valid unless it is
in writing and signed by or on behalf of all Parties to this Agreement.

       11.     Counterparts. This Agreement may be executed in one or more counterparts, each
of which shall constitute an original, with the same effect as if the signatures thereto and hereto
were upon the same instrument.

       12.      Governing Law. This Agreement shall be interpreted, construed and governed
according to the laws of the State of Texas without regard to its conflicts of laws rules.

         13.     Acknowledgements. The Parties acknowledge that this Agreement is being entered
into in good faith, is the product of arms-length negotiations, and that good and sufficient consideration
has been provided for all of the obligations set forth herein.

        14.    Non-Severability. Except as all Parties may otherwise agree in writing, all provisions
of this Agreement are essential, non-severable terms of this Agreement.

       15.    Titles and Headings. Titles and headings of the paragraphs of this Agreement are
for convenience of reference only and shall not affect the construction of any provision of this
Agreement.



                                 [SIGNATURES ON NEXT PAGE]




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        IN WITNESS WHEREOF, the Parties have executed and delivered this Agreement as of
the Effective Date.



SENIOR CARE LIVING VII, LLC



___________________________
Name:
Title:


MARK C. BOULDIN


___________________________
Name:


UMB BANK, National Association, as Master Trustee and Bond Trustee



___________________________
Name:
Title:




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Label Matrix for local noticing             Baxter Construction, Co.                        Matthew Huckin
113A-8                                      GrayRobinson, P.A.                              Valhalla Real Estate
Case 8:22-bk-00103-CED                      Steven J. Solomon, Esq.                         3605 Caruth Boulevard
Middle District of Florida                  333 SE 2nd Avenue, Suite 3200                   Dallas, TX 75225-5102
Tampa                                       Miami, FL 33131-2191
Mon May 16 15:30:25 EDT 2022
Kenneth W Mann                              Mary L. Peebles                                 Senior Care Living VII, LLC
SC&H Group, Inc                             232 S. Highland St., Ste. 102                   3665 East Bay Drive, Ste. 204-429
6011 University Boulevard                   Memphis, TN 38111-4529                          Largo, FL 33771-1990
Suite 490
Ellicott City, MD 21043-6107

A Place for Mom, Inc.                       ASSA Abloy Global Solutions                     Accushield, LLC
PO Box 913241                               PO Box 676947                                   Suite 360
Denver, CO 80291-3155                       Dallas, TX 75267-6694                           2030 Powers Ferry Rd SE
                                                                                            Atlanta, GA 30339-5016


Airgas USA, LLC                             Allegra                                         Aquarium Environments, Inc.
PO Box 734672                               107 N Jefferson St                              d/b/a Fish Gallery
Dallas, TX 75373-4672                       Tampa, FL 33602-5001                            2909 Fountainview Drive
                                                                                            Houston, TX 77057-6105


Aquarius Water Refining                     Arrow Exterminators, Inc.                       Baxter Construction Company
PO Box 337                                  5750 Rufe Snow Drive                            3225 Avenue N
Wimauma, FL 33598-0337                      North Richland Hills, TX 76180-6163             Fort Madison, IA 52627-3553



Baxter Construction, Co                     Best Celebrity Talent                           Bluestone Pools, LLC
c/o Steven J. Solomon, Esq.                 Attn: Rhonda Medina                             PO Box 92923
GrayRobinson, P.A.                          700 Meadow Bend Court                           Southlake, TX 76092-0923
333 SE 2nd Avenue, Suite 3200               Lewisville, TX 75077-8606
Miami, FL 33131-2191

Cawley Company                              Commercial Safety Systems                       Community Payroll
PO Box 2110                                 PO Box 8499                                     Suite 400
Manitowoc, WI 54221-2110                    Seminole, FL 33775-8499                         301 Anchor Plaza Parkway
                                                                                            Tampa, FL 33634


D. Park Smith                               Denton County Tax Collector                     Department of Revenue
Law Office of D. Park Smith                 110 W Hickory Street                            PO Box 6668
250 Cherry Springs Road, Suite 200          Denton, TX 76201-4168                           Tallahassee FL 32314-6668
HUNT, TX 78024-3010


Direct Supply                               Echo Lab                                        Eldermark Software
PO Box 88201                                PO Box 70343                                    PO Box 844707
Milwaukee, WI 53288-8201                    Chicago, IL 60673-0343                          Boston, MA 02284-4707



FL Dep of Revenue                           G5 Search Marketing, Inc.                       HD Supply Facilities Mtnce
Collection Agency Section                   Dept LA 23988                                   PO Box 509058
5050 W Tennessee St.                        Pasadena, CA 91185-0001                         San Diego, CA 92150-9058
Tallahassee, FL 32399-6586
                              Case 8:22-bk-00103-CED      Doc 120          Filed 05/16/22   Page 15 of 16
HM LIfe Insurance Company                    Hunter-Kelsey of Texas, LLC                     Hunter-Kelsey of Texas, LLC
PO Box 382038                                Dennis Leone                                    c/o Howard Marc Spector
Pittsburgh, PA 15251-8038                    SHANKMAN LEONE, P.A.                            SPECTOR & COX, PLLC
                                             707 North Franklin Street, 5th Fl               12770 Coit Road, Suite 850
                                             Tampa, FL 33602-4419                            Dallas, Texas 75251-1364

Hunter-Kelsey of Texas, LLC as Agent and     Internal Revenue Service                        J. Robert Medlin
Attorney-In-Fact for Tarpon Hunters, LLC     P.O. Box 7346                                   FTI Consulting
c/o Howard Marc Spector                      Philadelphia, PA 19101-7346                     2001 Ross Avenue, Ste. 650
Spector & Cox, PLLC                                                                          Dallas, TX 75201-2923
12770 Coit Road, Suite 850
Dallas, TX 75251-1364
Konica Minolta Business Solutions            Magnolia Fisheries                              McKesson Medical-Surgical
Dept. 2366                                   PO Box 3087                                     PO Box 204786
PO Box 122366                                Coppell, TX 75019-7001                          Dallas, TX 75320-4786
Dallas, TX 75312-2366


Our Place Tuxedos & Uniforms                 Senior Care Living VI, LLC                      Senior Living Specialists
2044 Smith Street                            6400 Oilfield Rd                                14580 Berklee Drive
North Providence, RI 02911-1785              Sugar Land, TX 77479-9622                       Addison, TX 75001-3532



Shred it                                     Silversphere, LLC                               Sodexo, Inc & Affiliates
c/o Stericycle, Inc.                         Suite 200                                       PO Box 360170
28883 Network Place                          2570 W Int’l Speedway Blvd                      Pittsburgh, PA 15251-6170
Chicago, IL 60673-1288                       Daytona Beach, FL 32114-8145


Songs & Smiles                               TK Elevator Corp. fka ThyssenKrupp Elevator     TX Comptroller Public Accts
Suite 260                                    c/o Law Office of D. Park Smith                 PO Box 13528, Capital Station
129 S Main Street                            250 Cherry Springs Road, Suite 200              Austin, TX 78711-3528
Grapevine, TX 76051-5488                     HUNT, TX 78024-3010


Tarpon Hunters, LLC                          Thyssenkrupp Elevator Corp                      UMB Bank, NA Master Trustee
7200 N. Mopac Expressway #120                PO Box 3796                                     120 S. Street #1400
Austin, TX 78731-3058                        Carol Stream, IL 60132-3796                     Minneapolis, MN 55402



US Foods, Inc.                               VSL HOldings, LLC                               Validus Senior Living REIT
PO Box 843202                                Suite 400                                       Suite 400
Dallas, TX 75284-3202                        4301 Anchor Plaza Parkway                       4301 Anchor Plaza Parkwy
                                             Tampa, FL 33634-7529                            Tampa, FL 33634-7529


Welcome Home Software, Inc.                  Michael C Markham +                             Steven J Solomon +
2829 Normandy Drive NW                       Johnson Pope Bokor Ruppel & Burns LLP           GrayRobinson, PA
Atlanta, GA 30305-2824                       401 East Jackson Street, Suite 3100             333 S.E. 2nd Avenue, Suite 3200
                                             Tampa, FL 33602-5228                            Miami, FL 33131-2191


United States Trustee - TPA +                J Steven Wilkes +                               Ryan C   Reinert +
Timberlake Annex, Suite 1200                 Office of United States Trustee                 Shutts   & Bowen LLP
501 E Polk Street                            501 East Polk Street                            4301 W   Boy Scout Blvd, Ste 300
Tampa, FL 33602-3949                         Tampa, FL 33602-3949                            Tampa,   FL 33607-5716
                           Case 8:22-bk-00103-CED                 Doc 120       Filed 05/16/22         Page 16 of 16
Dennis D Leone +                                     Daniel S Bleck +                                     Howard Marc Spector +
Shankman Leone PA                                    Mintz Levin                                          Spector & Cox, PLLC
707 N. Franklin Street, 5th Floor                    One Financial Center                                 12770 Coit Road, Suite 850
Tampa, FL 33602-4419                                 Boston, MA 02111-2657                                Dallas, TX 75251-1364


Timothy J McKeon +                                   Dallas Taylor +                                      Note: Entries with a ’+’ at the end of the
Mintz Levin                                          Mintz Levin                                          name have an email address on file in CMECF
One Financial Center                                 666 Third Avenue
Boston, MA 02111-2657                                New York, NY 10017-4011




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(u)Brimmer Burek & Keelan, LLP                       (u)Caryl E. Delano                                   (u)Hunter-Kelsey of Texas LLC
                                                     Tampa




(u)UMB Bank, N.A.                                    (d)Baxter Construction Company                       End of Label Matrix
                                                     3225 Avenue N                                        Mailable recipients   65
                                                     Fort Madison, IA 52627-3553                          Bypassed recipients    5
                                                                                                          Total                 70
